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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TTT mt ee en ee ee eee el, x
UNITED STATES OF AMERICA,
-against~ 19-cr-0440 (LAK) (LAK)
CARLOS ESTRADA,
Defendant.
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LEWIS A. KAPLAN, District Judge.

Defendant was convicted on his plea of guilty of distribution of heroin and of conspiracy
to possess heroin with intent.to distribute it, He was sentenced principally to a term of imprisonment. He
now is serving that sentence at a Bureau of Prisons (“BOP” institution in Lexington, Kentucky.

The Court is in receipt of letters from defendant and his wife, the burden of which is that
defendant’s family is unable for substantial reason to visit him in Lexington and that their circumstances
would be very much easier if he were transferred to a BOP facility in Terre Haute, Indiana. They contend
that BOP has rejected defendants requests for a transfer to that institution on the ground that it regards
defendant as a sex offender. It appears from the papers that defendant has submitted that the basis of the
BOP’s position is that defendant was adjudged a delinquent in the Juvenile Court of Térantino County,
Texas, in 2008 on the ground that he was adjudged to have engaged in the felony of compelling prostitution
of a minor in 2007, although the court excused defendant from sex offender registration.

This Court lacks any power to review the Texas state juvenile adjudication. Nor is it aware
of any authority to review the BOP’s policies with respect to transfer of inmates among its facilities, its
criteria for doing’so, or its alleged determination that defendant should be treated as a sex offender for
purposes of those policies.

* Accordingly, while the Court is sympathetic to the difficulties defendant and his family are
facing, it'is obliged to deny the present application in all respects. ;

The Clerk shall mail a copy of this order to defendant.
SO ORDERED. /

Dated: October 11, 2020

 

Lewis A. Kaplan f— }

United States District Judge

 

 

 

 
